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                          UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY

   IN RE: JOHNSON & JOHNSON TALCUM                   MDL No.: 16-2738(MAS)(RLS)
   POWDER PRODUCTS MARKETING,
   SALES PRACTICES AND PRODUCTS                               AFFIDAVIT
   LIABILITY LITIGATION



       AFFIDAVIT OF FREDA L. WOLFSON PURSUANT TO FED. R. CIV. P. 53

       I, Freda L. Wolfson, hereby declare and state as follows:

  1.   I am an attorney of the State of New Jersey, and a Partner at Lowenstein Sandler LLP

       (“Lowenstein Firm”) since February 1, 2023. I was the former Chief Judge of the United

       States District Court for the District of New Jersey, having retired on January 31, 2023.

  2.   I respectfully submit this Affidavit in support of my pending appointment as Special Master

       in the above-captioned Multidistrict Litigation (the “Talc MDL”), pursuant to Fed. R. Civ.

       P. 53.

  3.   In early June 2025, Hon. Michael A. Shipp, U.S.D.J., who presides over Talc MDL,

       informed me that the Court was considering appointing me to serve as a Special Master to

       assist the Court in resolving Fed. R. Civ. P. 702 Daubert-related Motions filed by the

       parties in the Talc MDL.

  4.   I am intimately familiar with the Talc MDL, because I was the former District Judge who

       presided over this matter prior to my retirement from the District of New Jersey.

  5.   I reviewed the current pleadings and the Court’s docket, as well as checked the Lowenstein

       Firm’s conflict system to determine whether there was any conflict that would require

       disclosure to the Court and the parties, or that would otherwise preclude me from serving

       as a Special Master under 28 U.S.C. § 455.
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  6.    The Lowenstein Firm’s sophisticated conflicts system confirms that the Firm does not

        represent any of the named parties in the Talc MDL, nor have I ever personally represented

        any of the named parties in the Talc MDL. In fact, the majority of my matters at the

        Lowenstein Firm involve my service as a neutral, such as a mediator, special master, or

        adjudicator, or mock judge.

  7.    As a disclosure, as the parties are well aware, the Lowenstein Firm represents Johnson &

        Johnson on corporate-related matters that are wholly unrelated to the Talc MDL. I have

        had no involvement with any of those matters since joining the Firm. This fact does not

        present as a conflict under 28 U.S.C.§ 455.

  8.    Counsel for the parties are aware that I served as a mock judge for a matter involving

        Kenvue, an affiliate of Johnson & Johnson, in an unrelated matter, and that engagement

        concluded in 2023.

  9.    Moreover, since late December 2023, pursuant to a court appointment, I have been serving

        as a Special Master in Johnson & Johnson Health Care Systems Inc. v. Save On SP, LLC,

        et al., Civil Action No. 22-2632 (CCC)(CLW), in which the plaintiff is an entity affiliated

        with Johnson & Johnson. To avoid any potential conflict, an ethical wall has been in place

        between myself and all matters involving Johnson & Johnson at the Lowenstein Firm.

  10.   Finally, as the parties are aware, a former bankruptcy partner at the Lowenstein Firm

        previously represented LTL Management, LLC in a local counsel capacity in its

        bankruptcy proceedings before the United States Bankruptcy Court for the District of New

        Jersey. I had no involvement in that matter. While the bankruptcy proceeding was related

        to the Talc MDL, it has long since concluded, and the issues involved are wholly unrelated

        to the Daubert motions for which I am currently under consideration to review. In short,



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        because the former partner is no longer with the Lowenstein Firm and the bankruptcy

        matter has been closed, I do not believe this past representation presents a conflict under

        28 U.S.C. § 455. Indeed, both parties have so indicated in their respective letters to the

        Court. See ECF Nos. 39392 and 39399.

  11.   I am confident that none of these relationships/past roles would preclude me from being

        impartial or unbiased as the Special Master in the Talc MDL.



  Dated: June 24, 2025


                                                     /s/ Freda L. Wolfson
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